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                                                     U.S. Department of Justice

                                                     Rachael S. Rollins
                                                     United States Attorney
                                                     District of Massachusetts


Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     August 8, 2022

Stellio Sinnis, Esq.
Assistant Public Federal Defender
Federal Public Defender Office
51 Sleeper Street, 5th Floor
Boston, MA 02210

       Re:      United States v. Herby Paul
                Criminal No. 22-10088-RWZ

Dear Mr. Sinnis:

        The United States Attorney for the District of Massachusetts (the “U.S. Attorney”) and your
client, Herby Paul (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal Procedure
(“Rule”) 11(c)(1)(C):

       1.       Change of Plea

       Defendant will plead guilty to Count One of the Indictment: Felon in Possession of a
Firearm and Ammunition, in violation of 18 U.S.C. § 922(g)(1). Defendant admits that Defendant
committed the crimes specified in these counts and is in fact guilty of each one.

       2.       Penalties

        Defendant faces the following maximum penalties: incarceration for 10 years; supervised
release for three years; a fine of $250,000; a mandatory special assessment of $100; and forfeiture
to the extent charged in the Indictment.

       Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant’s immigration status. Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant’s plea results in being automatically
removed from the United States.

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       3.       Rule 11(c)(1)(C) Plea

       In accordance with Rule 11(c)(1)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant’s plea for any other reason.

        Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw
Defendant’s guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,
the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

       4.       Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 12:

                a) Defendant’s base offense level is 14, because Defendant was a prohibited
                   person at the time Defendant committed the instant offense (USSG §
                   2K2.1(a)(6)(A)); and

                b) Defendant’s offense level is decreased by 2, because Defendant has accepted
                   responsibility for Defendant’s crime (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation. Defendant
also understands that the government will object to any reduction in Defendant’s sentence based
on acceptance of responsibility, and may be released from the parties’ agreed-upon disposition in
Paragraph 5 if: (a) at sentencing, Defendant (directly or through counsel) indicates that Defendant
does not fully accept responsibility for having engaged in the conduct underlying each of the
elements of the crime to which Defendant is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       5.       Agreed Disposition

       The parties agree on the following sentence:

                a) incarceration for between 24 and 30 months;

                b) 36 months of supervised release;

                c) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                   of the Court by the date of sentencing; and

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                d) forfeiture as set forth in Paragraph 7.

       6.       Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

       Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
                   other proceeding, including in a separate civil lawsuit; and

                b) Defendant will not challenge Defendant’s sentence, including any court orders
                   related to forfeiture, restitution, fines or supervised release, on direct appeal or
                   in any other proceeding, including in a separate civil lawsuit.

        The U.S. Attorney agrees not to appeal the imposition of a sentence within the range agreed
to by the parties in paragraph 5.

        Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence regardless
of whether Defendant later changes Defendant’s mind or finds new information that would have
led Defendant not to agree to give up these rights in the first place.

       Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

       7.       Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
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or otherwise involved in, the offense.

       The assets to be forfeited specifically include, without limitation, the following:

               a. One Taurus G3C 9 millimeter semiautomatic handgun, serial number
                  ABM228518; and
               b. 13 rounds of 9 millimeter ammunition.
        Defendant admits that these assets are subject to forfeiture on the grounds that they were
involved in or used in the commission of Defendant’s offense. Defendant agrees to consent to the
entry of orders of forfeiture for such property and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment. Defendant
understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty, restitution,
cost of imprisonment, tax liability or any other debt owed to the United States.

        Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.



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       8.       Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       9.       Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       10.      Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       11.      Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Charles Dell’Anno.

                                                    Sincerely,

                                                    RACHAEL S. ROLLINS
                                                    United States Attorney

                                             By:
                                                    ANNE PARUTI
                                                    Chief, Major Crimes Unit
                                                    MARK GRADY
                                                    Deputy Chief, Major Crimes Unit



                                                    CHARLES DELL’ANNO
                                                    Assistant U.S. Attorney




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